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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                               December 14, 2016
                                       
                                       
                                       

In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 14[th] day of December, 2016.

10-15-00093-CV	IN THE INTEREST OF S.M.R. AND A.L.R., CHILDREN - ON APPEAL FROM THE 429[H] DISTRICT COURT OF COLLIN COUNTY - TRIAL COURT NO. 429-53095-2010 - AFFIRMED AS MODIFIED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that there was error in the judgment, the judgment is modified to modify Finding of Fact 10 to delete the statement that appellee was granted "the exclusive right to establish the children's principal residence in Collin and contiguous counties," and modify Finding of Fact 41 to reference the trial court's December 18, 2013 temporary order of modification, not the September 17, 2013 hearing date.  It is therefore ordered, adjudged and decreed by the Court that, as modified, the judgment be in all things affirmed, and that the appellant pay all costs in this behalf expended and that this decision be certified below for observance."

